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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                      WESTERN DISTRICT OF OKLAHOMA
               UNITED STATES OF AMERICA                                          )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                      v.                                         )
            RALPH ALLAN LEE SHORTEY                                              )   Case Number: CR-17-00195-001-D
          a/k/a Brian Tilley, a/k/a Jamie Tilley                                 )
                                                                                     USM Number: 31860-064
                                                                                 )
Date of Original Judgment: September 18, 2018                                    )   Edward M. Blau
                                           (Or Date of Last Amended Judgment)        Defendant’s Attorney
                                                                                 )
Reason for Amendment:
                                                                                 )
   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                      Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                                 )      Modification of Imposed Term of Imprisonment for Extraordinary and
   P. 35(b))                                                                     )      Compelling Reasons (18 U.S.C. § 3582(c)(1))
   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))
                                                                                 )      Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                 )      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                 )
                                                                                        Direct Motion to District Court Pursuant to     28 U.S.C. § 2255 or
                                                                                 )
                                                                                            18 U.S.C. § 3559(c)(7)
                                                                                 )
                                                                                        Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
    pleaded guilty to count(s)        4 of the Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                Offense Ended                   Count
18 U.S.C. § 1591(a)(1),             Sex trafficking of children; attempting                                         03/09/2017                 4
(b)(2), and (c), and
18 U.S.C. § 1594(a)


       The defendant is sentenced as provided in pages 2 through 8                             of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)              1-3 of the Indictment                        is   are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                     January 31, 2019
                                                                                     Date of Imposition of Judgment




                                                                                     February 1, 2019

                                                                                     Date Signed
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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                                   Judgment — Page          2     of          8
DEFENDANT:                    Ralph Allan Lee Shortey
CASE NUMBER:                  CR-17-00195-001-D

                                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
180 months.

       The court makes the following recommendations to the Bureau of Prisons:
       It is recommended the defendant participate in the Federal Bureau of Prisons Inmate Financial Responsibility Program at a rate determined by Bureau of Prisons
       staff in accordance with the program;
       That the defendant, if eligible, participate in the Residential Drug Abuse Program while incarcerated;
       That the defendant, if eligible, participate in a Sex Offender Treatment Program while incarcerated; and
       That the defendant, if eligible, be designated to FCI Seagoville.

       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
              at                                             a.m.             p.m.        on                                            .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                                    .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                                      to

at                                                           with a certified copy of this judgment.




                                                                                                               UNITED STATES MARSHAL


                                                                                  By
                                                                                                          DEPUTY UNITED STATES MARSHAL
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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 3 — Supervised Release

                                                                                                    Judgment—Page      3     of       8
DEFENDANT:                 Ralph Allan Lee Shortey
CASE NUMBER:               CR-17-00195-001-D

                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :    10 years.




                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
4.     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check if applicable)
5.     You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
       directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
       reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 3A — Supervised Release

                                                                                                        Judgment—Page     4       of   8
DEFENDANT:                    Ralph Allan Lee Shortey
CASE NUMBER:                  CR-17-00195-001-D

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
      aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                      Date
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AO 245C(Rev. 02/18)   Judgment in a Criminal Case
                      Sheet 3D— Supervised Release

                                                                                           Judgment—Page     5    of      8
DEFENDANT:               Ralph Allan Lee Shortey
CASE NUMBER:             CR-17-00195-001-D

                                            SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program of mental health aftercare at the direction of the probation officer. The court
may order that the defendant contribute to the cost of services rendered (copayment) in an amount to be determined by the
probation officer based on the defendant’s ability to pay.

The defendant shall submit to a sex offender mental health assessment and a program of sex offender mental health
treatment, as directed by the U.S. Probation Officer, until such time as the defendant is released from the program by the
probation officer. This assessment and treatment may include a polygraph to assist in planning and case monitoring. The
defendant may be required to contribute to the cost of services rendered (copayment) in an amount to be determined by
the probation officer, based on the defendant’s ability to pay. Any refusal to submit to such assessment or tests as
scheduled is a violation of the conditions of supervision.

The defendant shall waive all rights to confidentiality regarding sex offender mental health treatment in order to allow
release of information to the supervising probation officer and to authorize open communication between the probation
officer and the treatment provider.

The defendant shall not be at any residence where children under the age of 18 are residing without the prior written
permission of the U.S. Probation Officer.

The defendant shall not be associated with children under the age of 18 except in the presence of a responsible adult who
is aware of the defendant’s background and current offense, and who has been approved by the U.S. Probation Officer.

The defendant shall not view, purchase, possess, or distribute any form of pornography depicting sexually explicit conduct
as defined in 18 U.S.C. 2256(2), unless approved for treatment purposes, or frequent any place where such material is the
primary product for sale or entertainment is available.

The defendant shall register pursuant to the provisions of the Sex Offender Registration and Notification Act, or any
applicable state registration law. The defendant shall submit his/her person, and any property, house, residence, vehicle,
papers, computer, other electronic communication or data storage devices or media, and effects to search at any time, with
or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation of a
condition of probation or unlawful conduct by the person, and by any probation officer in the lawful discharge of the officer’s
supervision functions.

The defendant shall not use a computer to access any on-line computer service at any location (including employment) for
the purpose of viewing, obtaining, or transmitting child pornography or other sexually explicit material. The defendant shall
not access Internet chat rooms for the purpose of obtaining child pornography or enticing children under the age of 18 to
engage in sexually explicit activity.

The defendant shall consent to third party disclosure to any employer or potential employer concerning computer-related
restrictions and monitoring requirements.

The defendant shall consent to the U. S. Probation Officer conducting periodic unannounced examinations, without
individual showing of reasonable suspicion, on any computer equipment used by the defendant. The examination may
include assistance of other law enforcement agencies. This may include retrieval and copying of all data from the computer
and any internal or external peripherals to ensure compliance with his/her conditions and/or removal of such equipment for
the purpose of conducting a more thorough inspection, and allow at the direction of the probation officer, installation on the
defendant’s computer, at the defendant’s expense per co-payment policy, any hardware or software systems to monitor the
defendant’s computer use. The defendant shall comply with a Computer Monitoring and Acceptable Use Contract, which
includes a requirement that the defendant use a computer compatible with available monitoring systems. The defendant
shall have no expectation of privacy regarding computer use or information stored on the computer. The defendant shall
warn any other significant third parties that the computer(s) may be subject to monitoring. Any attempt to circumvent
monitoring and examination may be grounds for revocation.
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AO 245C(Rev. 02/18)   Judgment in a Criminal Case
                      Sheet 3D— Supervised Release

                                                                                             Judgment—Page    6     of      8
DEFENDANT:               Ralph Allan Lee Shortey
CASE NUMBER:             CR-17-00195-001-D



                                  ADDITIONAL SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess or use a computer with access to any on-line computer service at any location (including
place of employment) without the prior written approval of the probation officer. This includes any Internet Service provider,
bulletin board system or any other public or private network or e-mail system. This condition is not a prohibition on the
defendant’s use of the Internet, but a restriction to use of the Internet only on device(s) that (1) are compatible with the U.S.
Probation Office’s monitoring technology and (2) are approved by the probation officer prior to any use, so that use of the
device(s) can be monitored.
The defendant shall participate in a program of substance abuse aftercare at the direction of the probation officer to include
urine, breath, or sweat patch testing; and outpatient treatment. The defendant shall totally abstain from the use of alcohol
and other intoxicants both during and after completion of any treatment program. The defendant shall not frequent bars,
clubs, or other establishments where alcohol is the main business. The court may order that the defendant contribute to
the cost of services rendered (copayment) in an amount to be determined by the probation officer based on the defendant’s
ability to pay.
The defendant shall maintain a single checking account in the defendant’s name. The defendant shall deposit into this
account all income, monetary gains, or other pecuniary proceeds, and make use of this account for payment of all personal
expenses. All other bank accounts must be disclosed to the probation officer.
The defendant shall not make application for any loan or enter into any credit arrangement without first consulting with the
probation officer.
The defendant shall disclose all assets and liabilities to the probation officer. The defendant shall not transfer, sell, give
away or otherwise convey any asset, without first consulting with the probation officer.
If the defendant maintains interest in any business or enterprise, the defendant shall, upon request, surrender and/or make
available for review, any and all documents and records of said business or enterprise to the probation officer.
The defendant shall, upon request of the probation officer, authorize release of any and all financial information, to include
income records, income tax records, and social security records, by execution of a release of financial information form, or
by any other appropriate means.
The defendant shall notify the court and the Attorney General of any material change in economic circumstances that might
affect the defendant’s ability to pay a fine and/or restitution.
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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties

                                                                                                      Judgment — Page     7      of       8
DEFENDANT:               Ralph Allan Lee Shortey
CASE NUMBER:             CR-17-00195-001-D

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                   JVTA Assessment*   Fine                                   Restitution
TOTALS             $ 100.00                     $ 5,000.00         $ 0.00                                 $ 125,850.00


     The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant shall make restitution (including community restitution) payments to the U.S. Court Clerk, 200 N.W. 4th Street,
     Oklahoma City, OK 73102, to be distributed to the payees in the amounts listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

     Individual names omitted. See list in Court Clerk’s Office.

Name of Payee                                 Total Loss**                      Restitution Ordered                     Priority or Percentage
Victim known as John Doe                                                            $125,850.00
Contact information provided to
Court Clerk’s office




TOTALS                               $               0.00                   $              $125,850.00

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
           the interest requirement is waived for            fine          restitution.

           the interest requirement for the           fine          restitution is modified as follows:



* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments

                                                                                                       Judgment — Page     8     of         8
DEFENDANT:                 Ralph Allan Lee Shortey
CASE NUMBER:               CR-17-00195-001-D
                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A         Lump sum payment of $          130,950.00 (restitution, JVTA, and assessment)          due immediately, balance due

                not later than                                   , or
                in accordance with         C,         D,         E, or        F below; or

B         Payment to begin immediately (may be combined with                C,           D, or       F below); or

C         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                      (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:
          If restitution is not paid immediately, the defendant shall make payments of 10% of the defendant’s quarterly earnings during the
          term of imprisonment.

          After release from confinement, if restitution is not paid immediately, the defendant shall make payments of the greater of
          $250.00 per month or 10% of defendant’s gross monthly income, as directed by the probation officer. Payments are to commence
          not later than 30 days after release from confinement.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:
     All right, title and interest in the assets listed in the Preliminary Order of Forfeiture dated April 13, 2018 (Doc. No. 27).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
